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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                                         )
    In re:                                                               )      Chapter 11
                                                                         )
    MOSAIC SUSTAINABLE FINANCE                                           )      Case No. 25-90156 (CML)
    CORPORATION, et al.,1                                                )
                                                                         )
                              Debtors.                                   )      (Joint Administration Requested)
                                                                         )      (Emergency Hearing Requested)

                              NOTICE OF DESIGNATION OF COMPLEX
                                CHAPTER 11 BANKRUPTCY CASE

             On June 6, 2025, the above-captioned debtors and debtors in possession (the “Debtors”)

filed voluntary petitions for relief under chapter 11 of title 11 of the United States Code

(the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of Texas

(the “Court”). The undersigned proposed counsel believes that these chapter 11 cases qualify as

complex chapter 11 case because:

             X       The Debtor has total debt of more than $10 million;

             X       There are more than 50 parties in interest in this chapter 11 case;

____________ Claims against or interests in the Debtor are publicly traded;

____________ Other (Substantial explanation is required).




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Mosaic Sustainable Finance Corporation (6802); Solar Mosaic LLC (3655); Modern
      Home LLC (4998); Mosaic Funding Holdings LLC (0866); and SMCTX LLC (6303). The service address for
      each of the above Debtors is 601 12th Street, Suite 325, Oakland, California 94607.
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       WHEREFORE, the Debtors requests entry of an order substantially in the form attached

hereto as Exhibit A granting the relief requested herein and such other and further relief as the

Court may deem just and proper.

Dated: June 6, 2025
       Houston, Texas                     /s/ Charles Persons
                                          PAUL HASTINGS LLP
                                          Charles Persons (TX Bar No. 24060413)
                                          Schlea M. Thomas (TX Bar No. 24131710)
                                          609 Main Street, Suite 2500
                                          Houston, Texas 77002
                                          Telephone: (713) 860-7300
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                                          Email: charlespersons@paulhastings.com
                                                  schleathomas@paulhastings.com
                                          -and-
                                          Matthew M. Murphy (pro hac vice admission pending)
                                          Geoffrey M. King (pro hac vice admission pending)
                                          Michael Jones (pro hac vice admission pending)
                                          Angelika S. Glogowski (pro hac vice admission pending)
                                          71 South Wacker Drive, Suite 4500
                                          Chicago, Illinois 60606
                                          Telephone: (312) 499-6000
                                          Facsimile: (312) 499-6100
                                          Email: mattmurphy@paulhastings.com
                                                 geoffking@paulhastings.com
                                                 michaeljones@paulhastings.com
                                                 angelikaglogowski@paulhastings.com

                                          Proposed Counsel to the Debtors and Debtors in
                                          Possession




                                                  2
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                                     Certificate of Accuracy

        I certify that the foregoing statements are true and accurate to the best of my knowledge.
This statement is being made pursuant to Bankruptcy Local Rule 9013-1(i).


                                                      /s/ Charles Persons _________
                                                     Charles Persons




                                      Certificate of Service

        I certify that on June 6, 2025, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                      /s/ Charles Persons __________________
                                                     Charles Persons




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                         EXHIBIT A
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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                                         )
    In re:                                                               )      Chapter 11
                                                                         )
    MOSAIC SUSTAINABLE FINANCE                                           )      Case No. 25-90156 (CML)
    CORPORATION, et al.,1                                                )
                                                                         )
                              Debtors.                                   )      (Joint Administration Requested)
                                                                         )      (Emergency Hearing Requested)

                                    ORDER GRANTING COMPLEX
                                   CHAPTER 11 BANKRUPTCY CASE

        On June 6, 2025, the above-captioned debtors and debtors in possession (the “Debtors”)
filed these chapter 11 cases (the “Chapter 11 Cases”) and the Notice of Designation of Complex
Chapter 11 Cases (the “Notice”).2 Based on its review of the initial pleadings, the Court concludes
that the complex chapter 11 case designation is appropriate. Accordingly, the Court hereby orders:

       1.      The Procedures for Complex Chapter 11 Cases in the Southern District of Texas
apply to these Chapter 11 Cases. The procedures are posted on the Court’s website. Compliance
with the procedures is required.

       2.      The Debtors must give notice of this Order to all parties in interest within
seven (7) days. If a party in interest objects to the provisions of this Order, that party may file an
appropriate motion within fourteen (14) days after service of the Order.

       3.      The Local Rules for the United States Bankruptcy Court for the Southern District
of Texas (the “Bankruptcy Local Rules”) apply to this Chapter 11 Case, subject to the following
modifications:

                   a) Bankruptcy Local Rule 1001-1(b) does not apply.

                   b) Rule 83.1 of the Local Rules of the U.S. District Court of the Southern District
                      of Texas (the “Local Rules of the District Court”) applies.

                   c) Appendix A to the Local Rules of the District Court applies.




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Mosaic Sustainable Finance Corporation (6802); Solar Mosaic LLC (3655); Modern
      Home LLC (4998); Mosaic Funding Holdings LLC (0866); and SMCTX LLC (6303). The service address for
      each of the above Debtors is 601 12th Street, Suite 325, Oakland, California 94607.
2
      Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Notice.
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            d) If a conflict exists between the Bankruptcy Local Rules and the Procedures for
               Complex Chapter 11 Cases in the Southern District of Texas, the Procedures
               for Complex Chapter 11 Cases in the Southern District of Texas govern.

Dated: ________________, 2025
       Houston, Texas

                                         ________________________________________
                                         THE HONORABLE CHRISTOPHER M. LOPEZ
                                         UNITED STATES BANKRUPTCY JUDGE




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